. . Case 1:25-cv-11418-MJJ Document1-1 Filed 05/27/25 Pagelof5
38.44. (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover shect and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

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fg —-—_- A w~w~UaAD
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant _4/ ~ / ATTACHE?)
(EXCEPT IN US, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (Known)

7) —“ _
f Ao cs E

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
. (For Diversity Cases Only) and One Box for Defendant)
C1 1 U.S. Government 3 Federal Question PTF DEF ~~ PTF- DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State 1 [J 1 Incorporated or Principal Place C4 (4
of Business In This State
CO 2. U.S. Government fs Diversity Citizen of Another State Oo 2 4) 2 Incorporated and Principal Place C 5 C 5
Defendant (Indicate Citizenship of Parties in ltem Il) of Business In Another State .
Citizen or Subject of a (13) (J 3 Foreign Nation af Oe Oe
Foreign Country
IV. NATURE OF SUIT (Place an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL [INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
130 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_}690 Other ; 28 USC 157 3729(a))
140 Negotiable Instrument Liability CO 367 Health Care/ Y] 400 State Reapportionment
CJ 150 Recovery of Overpayment _] 320 Assault, Libel & Pharmaceutical ROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
-, 151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patemt- Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) | 348 Marine Product Liability CL] 840 Trademark Corrupt Organizations
(_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets 7 480 Consumer Credit
of Veteran's Benclits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act . | 485 Telephone Consumer
{_} 190 Other Contract Product Liability [_] 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY. Protection Act
H 195 Contract Product Liability hy] 360 Other Personal Property Damage Relations , 861 HIA (1395ff) - 490 Cable/Sat TV
196 Franchise sinjury CJ 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commmoditics/
|_| 362 Personal Injury - Product Liability 4 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 4 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [_] 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |] 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act “FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate L_] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [_] 530 General |] 871 IRS—Third Party 899 Administrative Procedure
LJ 290 All Other Real Property | 445 Amer. w/Disabilities -[_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -| | 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X" in One Bax Only)

| Original 2 Removed from C3 Remanded from o4 Reinstated or oO 5 Transferred from 6 Multidistrict o8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

QIVILBIGHTS » RIGO, €&LDER ABGSE , {LED
Brief description of cause: EL DER A B Us Ez

VU. REQUESTED IN (]) CHECK IF THIS IS A CLASS ACTION DEMAND $

Cite the U.S. Civil Statute under which you are filing (Do nor cite jurjsdictional statutes untess diversity):
1? 3 z > -

VI. CAUSE OF ACTION

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [Yes (No
VIII. RELATED CASE(S) CAMBRIDGE DISTRICT COURT Civil Ke one

IF ANY (See instructions): JUDGE DOCKET NUMBER ~ G5

TIT A THD AT ATTA AIF AG DECADE

DATE 7, ; 3 3 |
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FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

VY

Case 1:25-cv-11418-MJJ Documenti-1 Filed 05/27/25

CIVIL COVER SHEET (JS-44)

U.S. District Court — District of Massachusetts (Boston Division)
Plaintiffs:

Javaid Aziz

131 Reed Street, Cambridge, MA 02140

Jamila K. Butt (by Javaid Aziz as attorney-in-fact/next friend)
Brightview Tarrytown, 581 Old White Plains Rd, Tarrytown, NY

Defendants:

1. Neelofar K. Butt

319 Martling Avenue,

Tarrytown, NY 10591

Phone: (845) 424-4444 (Work)

Email: care of neil.reig‘gielderlawadvisor.net

2. Neil H. Reig, Esq.

118 North Bedford Rd., Ste 100
Mount Kisco, NY 10549-2555
Phone: (914) 242-4800

Email: neil. reig<d@elderlawadvisor.net

3. Karen A. Morschhauser Bosshart, Esq.
344 E Main St., Ste 101

Mount Kisco, NY 10549-3086

Phone: (914) 244-3100

Email: care of neil.reig/@clderlawadvisor.net

4. Christopher L. Mangold, Esq.
200 East Post Road, 2nd Floor
White Plains, NY 10549

Phone: (914) 288-8052

Fax: (914) 323-0369

Email: emangold‘@emdivlaw.com

5. Brightview Senior Living, LLC

Attention: Paul Ataide

Brightview Tarrytown — Senior Living and Memory Care
581 Old White Plains Rd,

Tarrytown, NY 10591

Phone: (914) 368-6228

Email: PATAIDE@bvsl. net

6. Steven C. Bromberg, CPA

Page 2 of 5
Case 1:25-cv-11418-MJJ Document 1-1

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Phone: (914) 864-3320

Email: daytodayepa@verizon.net

7. Craig S. Donais, Esq.

95 Market Street

Manchester, NH 03101

Phone: (603) 669-4140

Email: cdonais(@wadleighlaw.com

8. Thomas J. Rizzo, Esq.

35 Braintree Hill Park, Suite 401
Braintree, MA 02184

Phone: (781) 848-5028

Fax: (781) 848-5096

Email: trizzo@schlossberglle.com

9. Dr. Jennifer Rosen

170 Maple Ave., Unit 309

White Plains, NY 10601

Phone: (914) 220-0283

Fax: (914) 220-0288

Email: care of neil. reig‘@elderlawadvisor.net

10. Hannah Lea Emmett

10 Spur Road

Putnam Valley, NY 10579

Phone:

Email: care of neil.rcig-@elderlawadvisor.net

11. Hon. Wayne A. Humphrey
Westchester County Family Court
131 Warburton Ave., 3rd Floor
Yonkers, NY 10701

Phone: (914) 831-6555

Fax: (914) 831-6409

Email:

12. Hon. Linda S. Jamieson

Supreme Court, Westchester County

111 Martin Luther King Jr. Blvd., 9th Floor
White Plains, NY 10601

Phone: (914) 824-5300

Fax: (914) 824-5873

Email:

Filed 05/27/25

Page 3 of 5
Case 1:25-cv-11418-MJJ Document1-1 Filed 05/27/25 Page4of5

13. Hon. William J. Giacomo

Supreme Court, Westchester County

111 Martin Luther King Jr. Blvd., 9th Floor
White Plains, NY 10601

Phone: (914) 824-5300

Fax: (914) 824-5873

Email:

14. John Doe & Jane Doe
(To be added)

Basis of Jurisdiction:
3. Federal Question (U.S. Government Not a Party)
4, Diversity (Citizens of Different States)

Citizenship of Principal Parties:
Plaintiff: Massachusetts
Defendants: Primarily New York and other states

Nature of Suit:
440 Civil Rights — Other
890 Statutory Actions — Other (RICO)

Cause of Action:
Civil Rights (42 U.S.C. §1983), RICO (18 U.S.C. §1962), and related state law claims (elder
abuse, fraud, IIED, abuse of process) arising from alleged elder exploitation scheme.

Origin:
Original Proceeding

Requested in Complaint:
Jury Demand: Yes
Monetary Demand: $10,000,000+

Related Cases (if any):
Neelofar Butt v. Javaid Aziz, Cambridge District Court — enforcement of NY judgment

Signature:

Date: May 27th, 2025.
Respectfully submitted,

Plaintiff Javaid Aziz (Pro Se)
on his own behalf and as Attorney-in-Fact for Jamila K. Butt
Case 1:25-cv-11418-MJJ Documenti1-1 Filed 05/27/25 Page5of5

131 Reed Street, Cambridge, MA 02140
Tel: 617 642 9058 — Email: javaid.aziz(@ gmail.com

Javaid Aziz
